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                              UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA


       In re: GARMAN, RAYMOND F., III                                §   Case No. 05-37483-BIF
                                                                     §
                                                                     §
   Debtor(s)                                                         §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

          GARY F. SEITZ, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $43,531.63                          Assets Exempt: $8,931.63

 Total Distribution to Claimants: $5,302,527.07       Claims Discharged
                                                      Without Payment: $10,691,347.42

 Total Expenses of Administration: $1,715,146.37


         3) Total gross receipts of $ 7,017,673.44 (see Exhibit 1 ), minus funds paid to the debtor
and third parties of $       0.00     (see Exhibit 2 ), yielded net receipts of $7,017,673.44
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS             CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED           ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                             $0.00         $22,502.14        $22,502.14         $22,502.14
 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                          0.00       1,720,502.98       1,715,146.37      1,715,146.37

   PRIOR CHAPTER
   ADMIN. FFES AND
   CHARGES (fromExhibit 5)                     0.00               0.00               0.00              0.00
   PRIORITY UNSECURED
   CLAIMS (fromExhibit 6 )                     0.00      24,468,738.47       5,047,392.15      5,047,392.15
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)               16,771,221.88      19,315,863.11      10,923,980.20        232,632.78
                                     $16,771,221.88     $45,527,606.70    $17,709,020.86      $7,017,673.44
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on October 14, 2005.
  . The case was pending for 56 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 05/23/2010                 By: /s/GARY F. SEITZ
                                                Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT




EXHIBIT 1            GROSS RECEIPTS

                                                                                UNIFORM                                 $ AMOUNT
                    DESCRIPTION
                                                                               TRAN. CODE1                              RECEIVED
             E TRade Investment Account                                       1229-000                                    2,294.31

             CONTINGENT UNLIQUIDATED CLAIM-U-Deans Waverly                    1241-000                                6,968,750.43

             AUTOMOBILES AND OTHER VEHICLES-U                                 1129-000                                   25,327.76

             CONTINGENT UNLIQUIDATED CLAIM-U-HKSB                             1141-000                                    3,750.00

             Interest Income                                                  1270-000                                   17,550.94


    TOTAL GROSS RECEIPTS                                                                                             $7,017,673.44

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2            FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                UNIFORM                                 $ AMOUNT
        PAYEE                            DESCRIPTION
                                                                               TRAN. CODE                                  PAID
                                                        N/A

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                     $0.00
    PARTIES

EXHIBIT 3            SECURED CLAIMS


                                            UNIFORM          CLAIMS
                                                            SCHEDULED              CLAIMS                CLAIMS              CLAIMS
        CLAIMANT                             TRAN.            (from Form          ASSERTED              ALLOWED               PAID
                                             CODE                 6D)




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EXHIBIT 3        SECURED CLAIMS


                                UNIFORM      CLAIMS
                                            SCHEDULED         CLAIMS         CLAIMS          CLAIMS
    CLAIMANT                     TRAN.      (from Form       ASSERTED       ALLOWED           PAID
                                 CODE           6D)
 Bank of America (Asia) Ltd.    4210-000       N/A              22,502.14      22,502.14      22,502.14


 TOTAL SECURED CLAIMS                                $0.00     $22,502.14     $22,502.14     $22,502.14



EXHIBIT 4        CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                UNIFORM
    PAYEE                                    CLAIMS           CLAIMS         CLAIMS          CLAIMS
                                 TRAN.
                                            SCHEDULED        ASSERTED       ALLOWED           PAID
                                 CODE
 GARY F. SEITZ                  2100-000       N/A             175,000.00     175,000.00     175,000.00

 GARY F. SEITZ                  2200-000       N/A               1,477.97         879.22         879.22

 CLERK OF US BANKRUPTCY COURT   2700-000       N/A                 500.00         500.00         500.00

 Miller Coffey Tate LLP         3410-000       N/A              15,063.00      15,063.00      15,063.00

 Miller Coffey Tate LLP         3420-000       N/A                   1.98           1.98           1.98

 US Department of Treasury      2810-000       N/A           1,010,484.00   1,010,484.00   1,010,484.00

 FOX ROTHSCHILD LLP             3210-000       N/A             500,000.00     500,000.00     500,000.00

 GRAEBIL/EASTERN                2410-000       N/A               9,757.86       5,000.00       5,000.00

 YorkvilleVan and Storage       2410-000       N/A               2,190.00       2,190.00       2,190.00
 Company
 INTERNATIONAL SURETIES, LTD    2300-000       N/A                   2.54           2.54           2.54

 INTERNATIONAL SURETIES LTD     2300-000       N/A              17,435.00      17,435.00      17,435.00

 GARY F. SEITZ                  2200-000       N/A                 122.48         122.48         122.48

 INTERNATIONAL SURETIES, LTD    2300-000       N/A               1,405.15       1,405.15       1,405.15

 CLERK, US BANKRUPTCY COURT, ED 2990-000       N/A                   9.00           9.00           9.00
 PA
 Global Surety, LLC-Operating 2300-000         N/A             -12,955.00     -12,955.00     -12,955.00
 Acct.
 CLERK OF US BANKRUPTCY COURT 2990-000         N/A                   9.00           9.00           9.00

 TOTAL CHAPTER 7 ADMIN. FEES                   N/A           1,720,502.98   1,715,146.37   1,715,146.37
 AND CHARGES




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EXHIBIT 5        PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                UNIFORM
    PAYEE                                     CLAIMS               CLAIMS            CLAIMS          CLAIMS
                                 TRAN.
                                             SCHEDULED            ASSERTED          ALLOWED           PAID
                                 CODE
                                           N/A

 TOTAL PRIOR CHAPTER ADMIN.                         N/A                      0.00           0.00           0.00
 FEES AND CHARGES


EXHIBIT 6        PRIORITY UNSECURED CLAIMS


                                UNIFORM       CLAIMS               CLAIMS
                                             SCHEDULED            ASSERTED           CLAIMS          CLAIMS
    CLAIMANT                     TRAN.           (from Form      (from Proofs of    ALLOWED           PAID
                                 CODE                6E)              Claim)
 Pennsylvania Department of    5800-000             N/A                   416.30          656.44         656.44
 Revenue
 Department of Treasury        5800-000             N/A               15,363.64        15,363.64      15,363.64

 Scott Orloff, Esquire o/b/o   5700-000             N/A           7,500,000.00         31,372.07      31,372.07
 Mia Mayer
 Carrie L. Kresge              5700-000             N/A               27,958.53             0.00           0.00

 Waverly Deans                 5600-000             N/A           1,125,000.00      1,125,000.00   1,125,000.00

 Scott Orloff, Esquire o/b/o   5600-000             N/A          15,800,000.00      3,875,000.00   3,875,000.00
 Mia Mayer
 TOTAL PRIORITY UNSECURED                                 0.00   24,468,738.47      5,047,392.15   5,047,392.15
 CLAIMS


EXHIBIT 7        GENERAL UNSECURED CLAIMS


                                UNIFORM       CLAIMS               CLAIMS
    CLAIMANT                     TRAN.       SCHEDULED            ASSERTED           CLAIMS          CLAIMS
                                                 (from Form      (from Proofs of    ALLOWED           PAID
                                 CODE                6F)              Claim)
 Pennsylvania Department of     7100-000            N/A                 4,162.98        3,506.54          45.65
 Revenue
 Pennsylvania Department of     7100-000            N/A                   416.30          416.30         416.30
 Revenue
 Department of Treasury         7100-000            N/A               24,269.76        21,842.78         284.30

 Department of Treasury         7100-000            N/A                 2,426.76        2,426.76       2,426.76

 Weir & Partners LLP            7100-000            N/A              887,995.09       799,195.60      10,402.07

 Weir & Partners LLP            7100-000            N/A               88,799.50        88,799.50      88,799.50




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 Scott Orloff, Esquire o/b/o     7100-000      N/A            15,800,000.00    7,500,000.00    97,617.58
 Mia Mayer
 Waverly Deans                   7100-000      N/A             2,500,000.00    2,500,000.00    32,539.19

 Graebel Eastern Movers, Inc.    7100-000      N/A                 7,792.72        7,792.72         101.43

 Klehr Harrison Harvey           7100-000              0.00       N/A                 N/A             0.00
 Branzburg & Ellers
 Internal Revenue Service        7100-000      unknown            N/A                 N/A             0.00

 Inland Revenue Department       7100-000       28,328.75         N/A                 N/A             0.00

 Graebel International Movers,   7100-000              0.00       N/A                 N/A             0.00
 Inc.
 Dr. & Ms. Ray Garman            7100-000       90,000.00         N/A                 N/A             0.00

 Dr. & Ms. Ray Garman            7100-000      120,000.00         N/A                 N/A             0.00

 HSBC                            7100-000       50,000.00         N/A                 N/A             0.00

 Mia M. Garman                   7100-000   15,500,000.00         N/A                 N/A             0.00

 La Costa                        7100-000        1,740.00         N/A                 N/A             0.00

 Waverly Deans                   7100-000       40,000.00         N/A                 N/A             0.00

 Weir & Partners LLP             7100-000      887,995.09         N/A                 N/A             0.00

 Water Supplies Department       7100-000            400.00       N/A                 N/A             0.00

 Sacks Weston Smolinsky Pearson 7100-000         1,100.00         N/A                 N/A             0.00
 & Albert
 Nathanel Sachs c/o Daniel J.   7100-000               0.00       N/A                 N/A             0.00
 Clifford, Esq.
 Ocwen Federal Bank FSB         7100-000        20,000.00         N/A                 N/A             0.00

 Montgomery McCracken Walker &   7100-000              0.00       N/A                 N/A             0.00
 Rhoads, LLP
 Commerce Bank                   7100-000            300.00       N/A                 N/A             0.00

 Commonwealth of PA              7100-000              0.00       N/A                 N/A             0.00

 Cairns & Haak                   7100-000        1,200.00         N/A                 N/A             0.00

 Capital One                     7100-000              0.00       N/A                 N/A             0.00

 Bank of East Asia, Limited      7100-000       10,000.00         N/A                 N/A             0.00

 Bank of East Asia               7100-000       13,375.00         N/A                 N/A             0.00

 Adolph Fellmeth                 7100-000        1,100.00         N/A                 N/A             0.00

 Bank of America (Asia) Ltd.     7100-000        5,683.04         N/A                 N/A             0.00

 City of Philadelphia            7100-000              0.00       N/A                 N/A             0.00

 TOTAL GENERAL UNSECURED                    16,771,221.88     19,315,863.11   10,923,980.20   232,632.78
 CLAIMS



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                                                                                Form 1                                                                              Page: 1

                                               Individual Estate Property Record and Report
                                                                Asset Cases
Case Number: 05-37483-BIF                                                               Trustee:          (280110)   GARY F. SEITZ
Case Name:           GARMAN, RAYMOND F., III                                            Filed (f) or Converted (c): 10/14/05 (f)
                                                                                        §341(a) Meeting Date:        12/01/05
Period Ending: 05/23/10                                                                 Claims Bar Date:             04/24/06

                                1                                       2                           3                     4                5                   6

                    Asset Description                                Petition/            Estimated Net Value         Property        Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,   Abandoned        Received by      Administered (FA)/
                                                                      Values            Less Liens, Exemptions,      OA=§554(a)        the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)         DA=§554(c)                        Remaining Assets

 1       BANK ACCOUNTS                                                  6,490.63                             0.00       DA                      0.00                    FA
           Bank of East Asia
         Master Account 514-33-00740-9

 2       BANK ACCOUNTS                                                  1,128.50                             0.00       DA                      0.00                    FA
           Citibank
         Checking Account

 3       BANK ACCOUNTS                                                  1,312.50                             0.00       DA                      0.00                    FA
           HSBC Master Account 041-314196-833

 4       BANK ACCOUNTS                                                        0.00                           0.00       DA                      0.00                    FA
           Citibank Checking Acount

 5       BANK ACCOUNTS                                                      200.00                        200.00        DA                      0.00                    FA
           E-Trade Checking Account

 6       BANK ACCOUNTS                                                      200.00                        200.00        DA                      0.00                    FA
           Barclays Bank Account

 7       WEARING APPAREL                                                    200.00                        200.00        DA                      0.00                    FA
           Various items of used clothing

 8       STOCK AND BUSINESS INTERESTS                                   4,000.00                         4,000.00       DA                      0.00                    FA
           ETrade Trading Account (Holdings of Yahoo, Inc.
         and Cardinal Institute, Inc. stock)

 9       STOCK AND BUSINESS INTERESTS                                   Unknown                         50,000.00       DA                      0.00                    FA
           Seitzross, International, BVR, Ltd. (10% minority
         interest)

10       OTHER PERSONAL PROPERTY NOT LISTED                            30,000.00                        30,000.00       DA                      0.00                    FA
         ABOVE-U- (u)
           Income payable from Garman Hill & Company, Ltd.

11       OTHER PERSONAL PROPERTY NOT LISTED                                   0.00                        140.00        DA                      0.00                    FA
         ABOVE-U- (u)

12       E TRade Investment Account (u)                                       0.00                       2,294.31                           2,294.31                    FA

13       CONTINGENT UNLIQUIDATED CLAIM-U-Deans                       7,400,000.00                  3,400,000.00                         6,968,750.43                    FA
         Waverly (u)
           Proceeds of PMA liquidation in hands of Waverly
         Deans less tax obligation due upon liquidation and less
         contingency fee required for recovery. Adversary


                                                                                                                                     Printed: 05/23/2010 12:05 PM    V.12.06
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                                                                                 Form 1                                                                                    Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 05-37483-BIF                                                                Trustee:          (280110)     GARY F. SEITZ
Case Name:            GARMAN, RAYMOND F., III                                            Filed (f) or Converted (c): 10/14/05 (f)
                                                                                         §341(a) Meeting Date:          12/01/05
Period Ending: 05/23/10                                                                  Claims Bar Date:               04/24/06

                                 1                                        2                          3                        4                   5                    6

                      Asset Description                               Petition/            Estimated Net Value            Property          Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,      Abandoned          Received by       Administered (FA)/
                                                                       Values            Less Liens, Exemptions,         OA=§554(a)          the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)            DA=§554(c)                           Remaining Assets

           06-00608.

14         AUTOMOBILES AND OTHER VEHICLES-U                                    0.00                       2,825.62                                25,327.76                    FA

15         CONTINGENT UNLIQUIDATED CLAIM-U-HKSB                          46,485.23                       26,485.23                                 3,750.00                    FA
            07-00355-bif The Hong Kong and Shanghai Banking
           Corporation

16         HOUSEHOLD GOODS AND FURNISHINGS FROM                                0.00                           0.00          OA                         0.00                    FA
           HK
            A shipment of forty five (45) boxes received from
           Hong Kong containing personal property of
           the Debtor: research books, documents, empty road
           cases, various mementos and other personal
           household objects. Abandoned per ct order dtd
           10/18/07

 Int       INTEREST (u)                                                   Unknown                             N/A                                 17,550.94                    FA

 17       Assets         Totals (Excluding unknown values)           $7,490,016.86                $3,516,345.16                              $7,017,673.44                  $0.00



       Major Activities Affecting Case Closing:

                   Final audit approved 11/04/2009. Work ing on TDR (adding creditors from schedules). Zero bank statement received. 120 days = Thursday, March 4, 2010.

                   Final audit approved 11/04/2009. Work ing on TDR (adding creditors from schedules). Zero bank statement received. 120 days = Thursday, March 4, 2010.

       Initial Projected Date Of Final Report (TFR):       December 31, 2007               Current Projected Date Of Final Report (TFR):       November 4, 2009 (Actual)




                                                                                                                                           Printed: 05/23/2010 12:05 PM     V.12.06
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                                                                                  Form 2                                                                                          Page: 1

                                                        Cash Receipts And Disbursements Record
Case Number:           05-37483-BIF                                                                  Trustee:            GARY F. SEITZ (280110)
Case Name:             GARMAN, RAYMOND F., III                                                       Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                     Account:            ***-*****20-19 - Time Deposit Account
Taxpayer ID #:         **-***1723                                                                    Blanket Bond:       $12,590,453.00 (per case limit)
Period Ending: 05/23/10                                                                              Separate Bond: N/A

    1            2                            3                                     4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements           Time Deposit
  Date      Check #             Paid To / Received From             Description of Transaction                  T-Code              $                  $                Account Balance
05/18/07                     FUNDING ACCOUNT: ********2065   Transfer from MMA                                  9999-000          1,300,000.00                              1,300,000.00
08/20/07         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 1.3100%                        1270-000              4,252.70                              1,304,252.70
11/19/07         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 1.3100%                        1270-000              4,266.61                              1,308,519.31
11/26/07                     To Account #********2065        CLOSE TDA                                          9999-000                              1,308,519.31                   0.00

                                                                                 ACCOUNT TOTALS                                   1,308,519.31        1,308,519.31                  $0.00
                                                                                           Less: Bank Transfers                   1,300,000.00        1,308,519.31
                                                                                 Subtotal                                             8,519.31                   0.00
                                                                                           Less: Payments to Debtors                                             0.00
                                                                                 NET Receipts / Disbursements                        $8,519.31                 $0.00




{} Asset reference(s)                                                                                                                         Printed: 05/23/2010 12:05 PM         V.12.06
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                                                                                           Form 2                                                                                           Page: 2

                                                           Cash Receipts And Disbursements Record
Case Number:           05-37483-BIF                                                                           Trustee:            GARY F. SEITZ (280110)
Case Name:             GARMAN, RAYMOND F., III                                                                Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                              Account:            ***-*****20-65 - Money Market Account
Taxpayer ID #:         **-***1723                                                                             Blanket Bond:       $12,590,453.00 (per case limit)
Period Ending: 05/23/10                                                                                       Separate Bond: N/A

    1            2                             3                                            4                                                 5                       6                 7

 Trans.     {Ref #} /                                                                                                                     Receipts              Disbursements      Money Market
  Date      Check #             Paid To / Received From                      Description of Transaction                  T-Code              $                        $           Account Balance
10/02/06                     Bank of America (Asia) Ltd.            Proceeds from sale of cars                                                 2,825.62                                     2,825.62
               {14}                                                    sale of two cars subject         25,327.76        1129-000                                                           2,825.62
                                                                       to BoA Asia Liens
                                Bank of America (Asia) Ltd.            Porsche pay-off per sale         -8,909.22        4210-000                                                           2,825.62
                                                                       motion
                                Bank of America (Asia) Ltd.            Toyota Harrier pay-off          -13,592.92        4210-000                                                           2,825.62
                                                                       per sale motion
10/31/06         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.8000%                          1270-000                   1.36                                    2,826.98
11/30/06         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.8000%                          1270-000                   1.85                                    2,828.83
12/29/06         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.8000%                          1270-000                   1.79                                    2,830.62
01/08/07       {11}          International Health Insurance         Reimbursement of Health Insurance                    1229-000                 140.00                                    2,970.62
                             danmark a/s
01/09/07      1001           INTERNATIONAL SURETIES, LTD            BOND PREMIUM PAYMENT ON LEDGER                       2300-000                                          2.54             2,968.08
                                                                    BALANCE AS OF 01/09/2007 FOR CASE
                                                                    #05-37483, Bond # 016026390 PA ED
01/20/07       {11}          International Health Insurance         STOP PAYMENT ISSUED                                  1229-000                 -140.00                                   2,828.08
                             danmark
01/31/07         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.6500%                          1270-000                   1.90                                    2,829.98
02/15/07       {12}          E*Trade Financial Clearing LLC         Closing of account - investment account              1229-000              2,294.31                                     5,124.29
02/28/07         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.6500%                          1270-000                   1.77                                    5,126.06
03/30/07         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.6500%                          1270-000                   2.73                                    5,128.79
04/10/07       {13}          Jefferson Bank                         Wire transfer receipt of settlement funds per        1241-000          6,968,750.43                               6,973,879.22
                                                                    confirmation authzd by OUST
04/11/07      1002           Waverly Deans                          Wire transfer payment of claim settled per court 5600-000                               !      1,125,000.00       5,848,879.22
                                                                    order approving settlement dtd 3/27/07
04/11/07      1003           Mia Mayer                              Wire transfer payment of claim settled per court 5600-000                               !      3,875,000.00       1,973,879.22
                                                                    order approving settlement dtd 3/27/07
04/30/07         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 1.1200%                          1270-000                 993.01                              1,974,872.23
05/18/07                     ACCOUNT FUNDED: ********2019           Transfer from MMA                                    9999-000                                  1,300,000.00         674,872.23
05/31/07         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 1.1200%                          1270-000              1,439.53                                 676,311.76
06/12/07      1004           INTERNATIONAL SURETIES LTD             BOND PREMIUM FOR BOND 016034867                      2300-000                                     17,435.00         658,876.76
06/29/07         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 1.1200%                          1270-000                 596.37                                659,473.13
07/17/07      1005           FOX ROTHSCHILD LLP                     Compensation for counsel per ct order dtd            3210-000                                    500,000.00         159,473.13
                                                                    07/16/2007 DI 98
07/17/07      1006           GARY F. SEITZ                          Interim Per Court Order dtd 7/16/2007                                                             90,237.48          69,235.65
                                                                       PER CT ORDER DTD                 90,115.00        2100-000                                                        69,235.65
                                                                       7/16/2007
                                                                       INTERIM PER CT                       122.48       2200-000                                                        69,235.65

                                                                                                              Subtotals :                $6,976,910.67            $6,907,675.02
{} Asset reference(s)                                !-Not printed or not transmitted                                                                   Printed: 05/23/2010 12:05 PM         V.12.06
             Case 05-37483-bif                         Doc 197         Filed 09/22/10 Entered 09/22/10 16:20:23                                                     Desc Main
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                                                       Cash Receipts And Disbursements Record
Case Number:           05-37483-BIF                                                                           Trustee:            GARY F. SEITZ (280110)
Case Name:             GARMAN, RAYMOND F., III                                                                Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                              Account:            ***-*****20-65 - Money Market Account
Taxpayer ID #:         **-***1723                                                                             Blanket Bond:       $12,590,453.00 (per case limit)
Period Ending: 05/23/10                                                                                       Separate Bond: N/A

    1            2                            3                                           4                                                   5                     6                    7

 Trans.     {Ref #} /                                                                                                                     Receipts         Disbursements            Money Market
  Date      Check #             Paid To / Received From                   Description of Transaction                     T-Code              $                   $                 Account Balance
                                                                     ORDER DTD 7/16/2007
07/31/07         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 1.1200%                            1270-000                 393.92                                  69,629.57
08/31/07         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 1.3100%                            1270-000                  66.58                                  69,696.15
09/28/07         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 1.3100%                            1270-000                  70.03                                  69,766.18
10/31/07         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 1.3100%                            1270-000                  82.62                                  69,848.80
11/26/07                     From Account #********2019           CLOSE TDA                                              9999-000          1,308,519.31                                1,378,368.11
11/30/07         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 1.1200%                            1270-000                 229.96                               1,378,598.07
12/31/07         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 1.1200%                            1270-000              1,311.15                                1,379,909.22
01/31/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                            1270-000              1,264.75                                1,381,173.97
02/01/08      1007           GRAEBIL/EASTERN                      Storage per ct order dtd 11/15/07                      2410-000                                       5,000.00       1,376,173.97
02/14/08      1008           INTERNATIONAL SURETIES, LTD          BOND PREMIUM PAYMENT ON LEDGER                         2300-000                                       1,405.15       1,374,768.82
                                                                  BALANCE AS OF 02/14/2008 FOR CASE
                                                                  #05-37483, Bond # 016026390
02/27/08      1009           US Department of Treasury            PAYMENT OF POST PETITION TAXES DUE                     2810-000                             1,010,484.00               364,284.82
                                                                  PER TAX RETURN
02/29/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6000%                            1270-000                 676.82                                 364,961.64
03/07/08       {15}          HSBC                                 AVOIDANCE ACTION PROCEEDS                              1141-000              3,750.00                                  368,711.64
                                                                  (Preference/fradulent transfer) 07-00355-bif
03/31/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.4000%                            1270-000                 216.32                                 368,927.96
04/30/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.4000%                            1270-000                 121.19                                 369,049.15
05/20/08      1010           YorkvilleVan and Storage Company     SECURE, STORAGE AND MOVING                             2410-000                                       2,190.00         366,859.15
                                                                  EXPENSE
05/30/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5000%                            1270-000                 138.30                                 366,997.45
06/30/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5000%                            1270-000                 155.75                                 367,153.20
07/31/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5000%                            1270-000                 155.81                                 367,309.01
08/29/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5000%                            1270-000                 145.82                                 367,454.83
09/05/08      1011           CLERK, US BANKRUPTCY                 Certified copy of claims register for TFR              2990-000                                          9.00          367,445.83
                             COURT, ED PA
09/30/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5000%                            1270-000                 160.97                                 367,606.80
10/31/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.4500%                            1270-000                 144.92                                 367,751.72
11/28/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.3000%                            1270-000                  99.65                                 367,851.37
12/31/08         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.1500%                            1270-000                  76.98                                 367,928.35
01/30/09         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.1500%                            1270-000                  45.25                                 367,973.60
02/24/09                     Global Surety, LLC-Operating Acct.   Reimbursement for bond                                 2300-000                               -12,955.00               380,928.60
02/27/09         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.1500%                            1270-000                  42.34                                 380,970.94
03/31/09         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.1500%                            1270-000                  49.98                                 381,020.92
04/30/09         Int         JPMORGAN CHASE BANK, N.A.            Interest posting at 0.1500%                            1270-000                  46.86                                 381,067.78


                                                                                                              Subtotals :                $1,317,965.28       $1,006,133.15
{} Asset reference(s)                                                                                                                                  Printed: 05/23/2010 12:05 PM           V.12.06
             Case 05-37483-bif                          Doc 197    Filed 09/22/10 Entered 09/22/10 16:20:23                                                  Desc Main
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                                                        Cash Receipts And Disbursements Record
Case Number:           05-37483-BIF                                                                    Trustee:            GARY F. SEITZ (280110)
Case Name:             GARMAN, RAYMOND F., III                                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                       Account:            ***-*****20-65 - Money Market Account
Taxpayer ID #:         **-***1723                                                                      Blanket Bond:       $12,590,453.00 (per case limit)
Period Ending: 05/23/10                                                                                Separate Bond: N/A

    1            2                            3                                          4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements         Money Market
  Date      Check #             Paid To / Received From              Description of Transaction                   T-Code              $                  $              Account Balance
05/29/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                          1270-000                 45.30                              381,113.08
06/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                          1270-000                 50.00                              381,163.08
07/27/09      1012           CLERK OF US BANKRUPTCY          CERTIFIED COPY OF CLAIMS REGISTER                    2990-000                                       9.00         381,154.08
                             COURT
07/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                          1270-000                 48.44                              381,202.52
08/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                          1270-000                 48.45                              381,250.97
09/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                          1270-000                 46.89                              381,297.86
10/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                          1270-000                 46.89                              381,344.75
11/06/09         Int         JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.1500%                     1270-000                  9.38                              381,354.13
11/06/09                     To Account #********2066        Transfer for Distribution                            9999-000                               381,354.13                   0.00

                                                                                    ACCOUNT TOTALS                                  8,295,171.30       8,295,171.30                  $0.00
                                                                                             Less: Bank Transfers                   1,308,519.31       1,681,354.13
                                                                                    Subtotal                                        6,986,651.99       6,613,817.17
                                                                                             Less: Payments to Debtors                                           0.00
                                                                                    NET Receipts / Disbursements                  $6,986,651.99       $6,613,817.17




{} Asset reference(s)                                                                                                                           Printed: 05/23/2010 12:05 PM        V.12.06
             Case 05-37483-bif                      Doc 197    Filed 09/22/10 Entered 09/22/10 16:20:23                                                Desc Main
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                                                     Cash Receipts And Disbursements Record
Case Number:         05-37483-BIF                                                                Trustee:            GARY F. SEITZ (280110)
Case Name:           GARMAN, RAYMOND F., III                                                     Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:            ***-*****20-66 - Checking Account
Taxpayer ID #:       **-***1723                                                                  Blanket Bond:       $12,590,453.00 (per case limit)
Period Ending: 05/23/10                                                                          Separate Bond: N/A

    1            2                          3                                         4                                          5                     6                    7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements               Checking
  Date      Check #           Paid To / Received From             Description of Transaction                T-Code              $                  $                  Account Balance
11/06/09                   From Account #********2065     Transfer for Distribution                         9999-000            381,354.13                                  381,354.13
11/06/09       101         CLERK OF US BANKRUPTCY         Dividend paid 100.00% on $500.00, Clerk of        2700-000                                        500.00          380,854.13
                           COURT                          the Court Costs (includes adversary and other
                                                          filing fees); Reference:
11/06/09       102         Waverly Deans                  Dividend paid 1.30% on $2,500,000.00;             7100-000                                   32,539.19            348,314.94
                                                          Claim# 6; Filed: $2,500,000.00; Reference:
11/06/09       103         Graebel Eastern Movers, Inc.   Dividend paid 1.30% on $7,792.72; Claim# 7;       7100-000                                        101.43          348,213.51
                                                          Filed: $7,792.72; Reference:
11/06/09       104         GARY F. SEITZ                  COMBINED CHECK FOR TRUSTEE                                                                   85,764.22            262,449.29
                                                          COMPENSATION, EXPENSES AND
                                                          INTEREST
                                                             Dividend paid 100.00%           84,885.00      2100-000                                                        262,449.29
                                                             on $175,000.00; Claim#
                                                             ; Filed: $175,000.00
                                                             Dividend paid 100.00%             879.22       2200-000                                                        262,449.29
                                                             on $879.22; Claim# ;
                                                             Filed: $1,477.97
11/06/09       105         Department of Treasury         Combined Check for Claims#3,3A,3B                                                            18,074.70            244,374.59
                                                             Dividend paid 1.30% on            284.30       7100-000                                                        244,374.59
                                                             $21,842.78; Claim# 3;
                                                             Filed: $24,269.76
                                                             Dividend paid 100.00%           15,363.64      5800-000                                                        244,374.59
                                                             on $15,363.64; Claim#
                                                             3A; Filed: $15,363.64
                                                             Dividend paid 100.00%            2,426.76      7100-000                                                        244,374.59
                                                             on $2,426.76; Claim#
                                                             3B; Filed: $2,426.76
11/06/09       106         Miller Coffey Tate LLP         Combined Check for Claims#et_al.                                                             15,064.98            229,309.61
                                                             Dividend paid 100.00%           15,063.00      3410-000                                                        229,309.61
                                                             on $15,063.00; Claim# ;
                                                             Filed: $15,063.00
                                                             Dividend paid 100.00%                1.98      3420-000                                                        229,309.61
                                                             on $1.98; Claim# ; Filed:
                                                             $1.98
11/06/09       107         Pennsylvania Department of     Combined Check for Claims#2,2A,2C                                                                1,118.39         228,191.22
                           Revenue
                                                             Dividend paid 1.30% on             45.65       7100-000                                                        228,191.22
                                                             $3,506.54; Claim# 2;
                                                             Filed: $4,162.98

                                                                                                  Subtotals :                 $381,354.13         $153,162.91
{} Asset reference(s)                                                                                                                     Printed: 05/23/2010 12:05 PM           V.12.06
             Case 05-37483-bif                        Doc 197           Filed 09/22/10 Entered 09/22/10 16:20:23                                                Desc Main
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                                                       Cash Receipts And Disbursements Record
Case Number:         05-37483-BIF                                                                         Trustee:            GARY F. SEITZ (280110)
Case Name:           GARMAN, RAYMOND F., III                                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                          Account:            ***-*****20-66 - Checking Account
Taxpayer ID #:       **-***1723                                                                           Blanket Bond:       $12,590,453.00 (per case limit)
Period Ending: 05/23/10                                                                                   Separate Bond: N/A

    1            2                           3                                            4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                                 Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                   T-Code              $                  $               Account Balance
                                                                   Dividend paid 100.00%                416.30       7100-000                                                     228,191.22
                                                                   on $416.30; Claim# 2A;
                                                                   Filed: $416.30
                                                                   Dividend paid 100.00%                656.44       5800-000                                                     228,191.22
                                                                   on $656.44; Claim# 2C;
                                                                   Filed: $416.30
11/06/09       108         Scott Orloff, Esquire o/b/o Mia      Combined Check for Claims#5A,5B                                                             128,989.65             99,201.57
                           Mayer
                                                                   Dividend paid 1.30% on            97,617.58       7100-000                                                      99,201.57
                                                                   $7,500,000.00; Claim#
                                                                   5A; Filed:
                                                                   $15,800,000.00
                                                                   Dividend paid 100.00%             31,372.07       5700-000                                                      99,201.57
                                                                   on $31,372.07; Claim#
                                                                   5B; Filed: $7,500,000.00
11/06/09       109         Weir & Partners LLP                  Combined Check for Claims#4,4B                                                                  99,201.57                0.00
                                                                   Dividend paid 1.30% on            10,402.07       7100-000                                                            0.00
                                                                   $799,195.60; Claim# 4;
                                                                   Filed: $887,995.09
                                                                   Dividend paid 100.00%             88,799.50       7100-000                                                            0.00
                                                                   on $88,799.50; Claim#
                                                                   4B; Filed: $88,799.50

                                                                                        ACCOUNT TOTALS                                   381,354.13         381,354.13                  $0.00
                                                                                               Less: Bank Transfers                      381,354.13                  0.00
                                                                                        Subtotal                                               0.00         381,354.13
                                                                                               Less: Payments to Debtors                                             0.00
                                                                                        NET Receipts / Disbursements                          $0.00        $381,354.13

                                Net Receipts :          6,995,171.30
                      Plus Gross Adjustments :             22,502.14                                                                        Net              Net                   Account
                                                     ————————                           TOTAL - ALL ACCOUNTS                              Receipts      Disbursements              Balances
                                    Net Estate :       $7,017,673.44
                                                                                        TIA # ***-*****20-19                               8,519.31                  0.00                0.00
                                                                                        MMA # ***-*****20-65                           6,986,651.99        6,613,817.17                  0.00
                                                                                        Checking # ***-*****20-66                              0.00         381,354.13                   0.00

                                                                                                                                      $6,995,171.30      $6,995,171.30                  $0.00




{} Asset reference(s)                                                                                                                              Printed: 05/23/2010 12:05 PM        V.12.06
